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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         NEWNAN DIVISION

GLORIA KERR,

      Plaintiff,
                                             CIVIL ACTION FILE
v.
                                             NUMBER 3:15-cv-28-TCB
CHELSEA KERR RICHMOND,

      Defendant.

                                    ORDER

      This case comes before the Court on Plaintiff’s second 1 motion for

summary judgment [65] and the receiver’s motion for reconsideration

[71] relating to an award of his fees and expenses.

I.    Plaintiff’s Motion for Summary Judgment

      A.      Background

      Plaintiff Gloria Kerr (“Kerr”) is the estranged mother of

Defendant Chelsea Kerr Richmond. This litigation concerns proceeds of

a policy insuring the life of Timothy Kerr (“Timothy”), who was



      1 Kerr’s first motion [17], which was filed before discovery even commenced in
this case, was denied without prejudice on November 10, 2015 [38].
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Richmond’s father and Kerr’s ex-husband. When Kerr and Timothy

divorced in 1996, the divorce decree required Timothy to “continue to

maintain life insurance coverage insuring [his] life in an amount of not

less than $200,000.00, naming [Kerr] as sole irrevocable

beneficiary . . . .” [21-1] at 13. But when Timothy died in September

2014, the only life insurance coverage he had in place was a policy

issued by MetLife Insurance Company in the amount of $478,000 that

named Richmond as the sole beneficiary.

     In October 2014, Kerr filed a lawsuit against Richmond, MetLife,

and others in the Superior Court of Spalding County, seeking $200,000

of the insurance proceeds. On November 7, Richmond sent the following

e-mail to Kerr and Kerr’s attorney, Jason Smith, offering to pay Kerr

$200,000.00 in exchange for immediate dismissal of the lawsuit:

     I, Chelsea Richmond, agree to pay my mother, Gloria Kerr,
     the sum of Two-Hundred Thousand Dollars ($200,000.00)
     upon receipt of any life insurance payout from my late
     father’s, Timothy Kerr, benefits program . . . . In exchange
     for this agreed payout, my mother, Gloria Kerr, and her
     counsel, Jason Smith, agree to immediately drop any and all
     civil complaints, dispute of benefits, or pending litigation
     against The Estate of Timothy Kerr, The Progressive
     Mountain Insurance Co., Met-Life Insurance, Joshua Kerr

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      as Administrator of the Estate of Timothy Kerr, and myself,
      Chelsea Richmond, as a group and individually.

                               *     *     *

      Upon receipt and agreement of this good faith promise
      between Chelsea Richmond and Gloria Kerr, all civil cases
      filed and disputes over benefits shall be immediately
      withdrawn and/or dismissed with prejudice as soon as
      reasonably possible. At this time, an official document is to
      be drafted by Gloria Kerr’s counsel, Jason Smith, to be
      signed by both parties. The document shall fall in line with
      the terms and conditions offered in this correspondence.

[1-1] at 36.

      A formal settlement agreement was prepared by Kerr’s attorney

and finalized between Kerr and Richmond on November 19, 2014. That

agreement provides, in pertinent part, as follows:

      I, CHELSEA RICHMOND, agree to pay my mother,
      GLORIA KERR, the sum of Two Hundred Thousand Dollars
      ($200,000.00) upon receipt of any life insurance payout from
      my late father’s, Timothy Kerr, employer benefits program,
      believed at this time to be underwritten by MetLife
      Insurance Company of Connecticut. . . . In exchange for this
      agreed payout, my mother, GLORIA KERR, by and through
      her counsel, Jason Smith, agrees to immediately drop any
      and all civil complaints, dispute of benefits, and/or pending
      litigation against . . . Met-Life Insurance, . . . and myself,
      Chelsea Richmond, as a group and individually . . . .

      Upon receipt of any payout from Met-Life . . . , I, CHELSEA
      RICHMOND, will immediately forward payment in certified


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     funds to my mother c/o her attorney, Jason Smith, made
     payable to “Jason Smith and Gloria Kerr” . . . .

[1-1] at 38–39. Following execution of the settlement agreement, Kerr

promptly dismissed her lawsuit and withdrew a rival beneficiary claim

she had previously filed with MetLife. She then executed a general

release with MetLife, which paid the full $478,000 to Richmond on or

around December 10, 2014.

     In the days immediately following Richmond’s receipt of the

insurance proceeds, she and her husband Aaron paid approximately

$285,000 for a home on Daisey Lane in Justin, Texas. It is undisputed

that Kerr used some of the insurance proceeds to purchase the home,

although Richmond testified in her deposition that Aaron contributed

$10,000 toward the purchase price. [64-3] at 66.

     On December 17, 2014, approximately one week after MetLife

paid the insurance proceeds to Richmond, Richmond sent an e-mail to

Jason Smith claiming that she had mailed him a cashier’s check for

Kerr’s portion of the insurance proceeds. She provided tracking

information for another check referenced in the e-mail, but did not

provide a tracking number for Kerr’s check, stating: “I will get the
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tracking number for you as soon as I get home, as the receipt is with my

husband, and we are both at work. . . . Expect a follow up from me

before the end of the business day with the tracking information.” [64-5]

at 9.

        But Richmond never provided the tracking information, and the

check never arrived. At 11:00 p.m. on December 18, 2014—the day after

her e-mail claiming the check was in the mail—Richmond sent Kerr the

following e-mail:

        Mom,

        I can’t give you the money. Aaron took all of it and left. I
        have nothing to my name. I’m sorry. Kendall [Chelsea’s
        daughter] and I are alone and we are being forced to move. If
        you want to press criminal charges against me, that’s fine.
        Kendall will end up a ward of the state.

[64-5] at 10. However, Richmond’s husband had not abandoned the

family, and indeed the two are still married and living together.

Between December 10, 2014 and January 9, 2015, Richmond spent

approximately $374,000 of the $478,000 that was paid to her by

MetLife.




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      In January 2015, Kerr filed this lawsuit in the Superior Court of

Spalding County, and Richmond removed the case to this Court based

on diversity jurisdiction. Kerr’s verified amended complaint [14] asserts

claims against Richmond for breach of contract, fraud, implied trust,

accounting, and attorneys’ fees under O.C.G.A. § 13-6-11. 2 Richmond

has asserted counterclaims against Kerr for wrongful restraint,

punitive damages, and attorneys’ fees pursuant to O.C.G.A. § 13-6-11.

[42]. Kerr now moves for summary judgment on her claim for breach of

contract as well as Richmond’s counterclaims. She asks the Court to

impose a constructive trust over $200,000 of the insurance proceeds,

including those portions of the insurance funds that were used to

purchase Richmond’s Daisey Lane home.

      B.      Legal Standard

      The legal standards governing motions for summary judgment are

well settled. Summary judgment is appropriate when “there is no

      2 Additional claims for unjust enrichment and constructive trust were
previously dismissed by the Court. [38]. The Court noted that constructive trust is a
remedy, not a separate cause of action, and therefore although it dismissed the
count of the complaint that sought a constructive trust, it expressly left open the
possibility that Kerr could seek the remedy of a constructive trust if she were to
prevail on her claims. Id. at 4.

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genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” FED. R. CIV. P. 56(a). There is a “genuine”

dispute as to a material fact if “the evidence is such that a reasonable

jury could return a verdict for the nonmoving party.” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). “The moving party bears

the initial burden of demonstrating the absence of a genuine dispute of

material fact.” FindWhat Inv’r Grp. v. FindWhat.com, 658 F.3d 1282,

1307 (11th Cir. 2011) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 323

(1986)). The manner in which the moving party may carry this burden

depends on who will bear the burden of proof at trial. See United States

v. Four Parcels of Real Prop., 941 F.2d 1428, 1437–38 (11th Cir. 1991).

“[I]t is never enough simply to state that the non-moving party cannot

meet its burden at trial”; the moving party must show by reference to

the record that this is so. Id. at 1438 n.19. “On summary judgment, a

court may not weigh conflicting evidence or make credibility

determinations of its own” but must instead “view all of the evidence in

the light most favorable to the nonmoving party and draw all




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reasonable inferences in that party’s favor.” FindWhat Inv’r Grp., 658

F.3d at 1307.

     C.    Kerr’s Claim for Breach of Contract

     Under Georgia law, the elements of a claim for breach of contract

are “the breach and the resultant damages to the party who has the

right to complain about the contract being broken.” Chung v. JPMorgan

Chase Bank, N.A., 975 F. Supp. 2d 1333, 1343 (N.D. Ga. 2013). “One

seeking to enforce a contract must bear the burden of proof as to all the

essential elements of the contract, including the assent to the

contractual terms.” TranSouth Fin. Corp. v. Rooks, 604 S.E.2d 562, 564

(Ga. Ct. App. 2004).

     The Court has already ruled that the settlement agreement

between Kerr and Richmond was a “well-considered and enforceable

bargain.” [26] at 32. Nothing in the record presently before the Court—

including Richmond’s assertion that she was never given a copy of Kerr

and Timothy’s divorce decree until after the settlement agreement was

executed—warrants revisiting that holding. There is no dispute that

Richmond breached that agreement by failing to remit any of the


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insurance proceeds to Kerr, thereby causing Kerr to suffer damages in

the amount of $200,000. And as a party to the contract at issue, there is

no doubt that Kerr “has the right to complain about the contract being

broken.” Chung, 975 F. Supp. 2d at 1343. Kerr is therefore entitled to

summary judgment on her claim for breach of contract.

     The Court now turns to Kerr’s requested remedy: a constructive

trust on $200,000 of the life insurance proceeds. “[A] constructive trust

is a remedial device created by a court of equity in order to prevent

unjust enrichment.” Lee v. Lee, 392 S.E.2d 870, 871 (Ga. 1990). It

“arises not from the intent of the parties, but by equity with respect to

property acquired by fraud, or although acquired without fraud where it

is against equity that the property should be retained by the one who

holds it.” Aetna Life Ins. Co. v. Weekes, 244 S.E.2d 46, 48 (Ga. 1978);

see also Total Supply, Inc. v. Pridgen, 598 S.E.2d 805, 807 (Ga. Ct. App.

2004) (noting that a constructive trust is implied when “the

circumstances are such that the person holding legal title to property,

either from fraud or otherwise, cannot enjoy the beneficial interest in

the property without violating some established principle of equity”).

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     “[C]onstructive trusts are not automatically impressed whenever

one party owes another money.” Mitsubishi Int’l Corp. v. Cardinal

Textile Sales, Inc., 14 F.3d 1507, 1518 (11th Cir. 1994). But where one

party acquires proceeds of an insurance policy by means of fraud or

under other circumstances such that it is against equity for that party

to retain a beneficial interest in the insurance proceeds, a constructive

trust is an available remedy. See, e.g., Lee, 392 S.E.2d at 872; Larson v.

Larson, 173 S.E.2d 700, 701–02 (Ga. 1970); Zobrist v. Bennison, 486

S.E.2d 815, 817 (Ga. 1997); Jonas v. Jonas, 633 S.E.2d 544, 550–51 (Ga.

Ct. App. 2006). Equally true is that such trusts are uncommon, as

courts have rarely found the existence of “sufficient evidence supporting

the allegation that [the defendant’s] ownership of the insurance policy

and its proceeds is against equity.” Lee, 392 S.E.2d at 872. But this is

just such a case.

     The undisputed evidence shows that Richmond entered into a

binding contract to pay Kerr $200,000 from specified insurance

proceeds, breached that contract after receiving the bargained-for

consideration from Kerr (dismissal of the prior lawsuit), lied about

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having mailed a check to Kerr to delay Kerr’s discovery of the breach,

then lied again by claiming that her husband had purloined the funds

Richmond had promised to pay to Kerr. Richmond’s own conduct since

the death of Timothy Kerr is such that it is plainly against equity for

her to retain the benefit of the $200,000 of the insurance proceeds that

she promised to pay Kerr. Kerr is therefore entitled to a constructive

trust on that $200,000.

     Furthermore, because it is undisputed that Richmond used the

insurance funds to purchase her Daisey Lane home, Kerr is entitled to

an equitable lien against that home. See generally Watkins v. Watkins,

344 S.E.2d 220, 221 (Ga. 1986) (noting that an equitable lien is

available under the same circumstances as a constructive trust); see

also Total Supply, 598 S.E.2d at 807 (“Where the constructive trustee

has invested such funds or has purchased other property, the real

owner can follow it wherever it can be traced.”); Zobrist, 486 S.E.2d at

816–17 (affirming imposition of constructive trust over a home where

the defendant-homeowner had used insurance funds that properly

belonged to the plaintiffs to pay down the home’s mortgage).

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     Richmond argues that the law of the State of Texas—where the

home is located—does not allow liens to attach to a person’s home

except under very limited circumstances. But the law does not draw

such a clear line, as even Texas courts have recognized that Texas’s

“homestead and exemption laws . . . were never intended to be, and

cannot be, the haven of wrongfully obtained money or properties.”

Baucum v. Texam Oil Corp., 423 S.W.2d 434, 442 (Tex. Civ. App. 1967).

The Court rejects the argument that Texas law prohibits the imposition

of a constructive trust or equitable lien over Richmond’s home.

     D.    Richmond’s Counterclaims

     As noted above, Richmond asserted counterclaims against Kerr for

wrongful restraint, punitive damages, and attorneys’ fees. Kerr moved

for summary judgment on the wrongful-restraint counterclaim, arguing

that such a claim is unavailable under the circumstances of this case.

Although Richmond filed a brief in opposition to Kerr’s motion, that

brief is completely silent as to her counterclaims. By failing to respond

to Kerr’s arguments, Richmond abandoned her counterclaim for

wrongful restraint. Clark v. City of Atlanta, 544 F. App’x 848, 855 (11th


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Cir. 2013); see also Resolution Tr. Corp. v. Dunmar Corp., 43 F.3d 587,

599 (11th Cir. 1995) (“Grounds alleged in the complaint but not relied

upon in summary judgment are deemed abandoned.”).

     Richmond’s remaining two counterclaims—which seek an award

of punitive damages and attorneys’ fees—are necessarily derivative of

her substantive counterclaim for wrongful restraint. S.W. v. Clayton

Cty. Pub. Sch., 185 F. Supp. 3d 1366, 1380 (N.D. Ga. 2016); Stephen A.

Wheat Tr. v. Sparks, 754 S.E.2d 640, 682 (Ga. Ct. App. 2014).

Accordingly, the Court will grant summary judgment to Kerr on all

three of Richmond’s counterclaims.

     E.    Richmond’s Affirmative Defenses

     Because neither party has moved for summary judgment on Kerr’s

fraud claim, the Court turns to Kerr’s request for summary judgment on

Richmond’s affirmative defenses. Kerr cursorily asserts that Richmond

“has failed to produce any admissible evidence that supports any of her

affirmative defenses.” [65-2] at 21. Kerr is mistaken in her belief that

this satisfies her burden of “‘showing’—that is, pointing out to the




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district court—that there is an absence of evidence to support” the

affirmative defenses. Celotex, 477 U.S. at 325.

      A party seeking summary judgment “always bears the initial

responsibility of . . . identifying those portions of ‘the pleadings,

depositions, answers to interrogatories, and admissions on file, together

with the affidavits, if any,’ which it believes demonstrate the absence of

a genuine issue of material fact.” Id. at 323 (emphasis added).

      “In this circuit, even after Celotex, it is never enough simply to

state that the non-moving party cannot meet its burden at trial.” Four

Parcels, 941 F.2d at 1438 n.19. “Instead, the moving party must point to

specific portions of the record in order to demonstrate that the

nonmoving party cannot meet its burden of proof at trial.” Id.; see also

Eli Research, LLC v. Must Have Info Inc., No. 2:13-cv-69-FtM-38CM,

2015 WL 5934632, at *3 (M.D. Fla. Oct. 6, 2015) (denying motion for

summary judgment as to certain affirmative defenses where the moving




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party merely argued that the defendants had not presented any

evidence to support them). 3

      Kerr has failed to carry her initial burden and her motion for

summary judgment as to Richmond’s affirmative defenses will therefore

be denied. Richmond will be permitted to raise these affirmative

defenses, to the extent they might be applicable, in opposition to Kerr’s

fraud claim.

II.   Receiver James Clifton’s Motion for Reconsideration

      When this case was filed in superior court, Kerr obtained an ex

parte order appointing James Clifton as receiver over all of Richmond’s

assets. Although the Court subsequently vacated that receivership,

finding it was plagued by a litany of procedural defects, the Court

nevertheless awarded Clifton $1,688.22 pursuant to O.C.G.A. § 9-8-

13(b) against Kerr and Kerr’s counsel, jointly and severally. See [70].

The Court denied Clifton’s request for more than $10,000 in fees


      3 To the extent Kerr suggests that Richmond failed to adequately plead her
affirmative defenses because she did not include facts supporting them, the Court
notes that the Eleventh Circuit “has not extended the pleading requirements of
Rule 8(a) to affirmative defenses.” Jackson v. City of Centreville, 269 F.R.D. 661,
662 (N.D. Ala. 2010).

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incurred in connection with hiring local counsel in Texas, and Clifton

now moves for reconsideration [71].

      Initially, Clifton correctly points out that the Court inadvertently

overlooked billing invoices that he filed in support of his request for

these extraordinary expenses. His motion will nevertheless be denied.

Although the invoices filed by Clifton reflect that he paid $10,866.45 to

the Dallas, Texas law firm of Bell Nunnally, he did not submit any

affidavits attesting that the work billed for was reasonable or necessary

to the receivership. 4 Without such evidence, the Court cannot conclude

that fees are not being awarded for “excessive, redundant or otherwise

unnecessary” hours. Norman v. Hous. Auth. of City of Montgomery, 836

F.2d 1292, 1301 (11th Cir. 1988). This is particularly true in light of the

fact that the vast majority of the expenses at issue were incurred after

this Court vacated the superior court’s receivership order on April 30,



      4 Clifton’s original motion [33]—which was denied without prejudice on
procedural grounds—did include such affidavits, but those affidavits cannot
authenticate invoices for work that had not yet occurred at the time they were filed.
See [33-1] (Clifton’s affidavit, dated May 27, 2015); [33-2] (affidavit of Bell Nunnally
partner Karen Hart, dated May 15, 2015); [67] (billing records supporting Clifton’s
amended motion for fees and expenses, reflecting work performed by Bell Nunnally
between April 22, 2015 and July 28, 2015).

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2015. Moreover, the Court is unpersuaded that fees for work prompted

by Clifton’s own missteps as receiver are recoverable, at least in the

absence of evidence detailing the nature of that work.

       For these reasons, Clifton’s motion for reconsideration [71] is

denied.

III.   Conclusion

       For the foregoing reasons, Plaintiff’s motion for summary

judgment [65] is granted in part and denied in part. The Court grants

summary judgment in favor of Plaintiff and against Defendant on

Plaintiff’s claim for breach of contract, Plaintiff’s request for a

constructive trust and equitable lien, and all three of Defendant’s

counterclaims. The Court denies Plaintiff’s motion for summary

judgment on Richmond’s affirmative defenses. The Court denies the

receiver’s motion for reconsideration [71].

       Neither party has moved for summary judgment on Plaintiff’s

fraud claim or her claim for attorneys’ fees. Without expressing any

opinion as to the merits of those claims, the Court directs the parties to

mediate all remaining claims in this case. This case is hereby referred

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to Chief Magistrate Judge Linda T. Walker for assignment of the next

available magistrate judge to mediate this matter. The Clerk is directed

to administratively close this case pending the outcome of such

mediation. If mediation is unsuccessful, the parties shall promptly

move to reopen this case and have it set for trial. If a settlement is

finalized, the parties shall promptly file a stipulation of dismissal. 5

      IT IS SO ORDERED this 8th day of March, 2017.



                                       ____________________________________
                                       Timothy C. Batten, Sr.
                                       United States District Judge




      5  Administratively closing a case is a docket-control device used by the Court
for statistical purposes. The parties need file a motion to reopen the case only if
settlement negotiations fail. This Order will not prejudice the rights of the parties
to this litigation in any manner.

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